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        &lt;div&gt;&lt;header&gt;&lt;center&gt;&lt;b&gt;&lt;/b&gt;&lt;p data-paragraph-id="5e1b6ce403"&gt;&lt;span data-sentence-id="6e19718a74" quote="false" data-paragraph-id="5e1b6ce403"&gt; Devereux Cleo Wallace, a Colorado nonprofit corporation, d/b/a Devereux Advanced Behavioral Health, Petitioner &lt;br /&gt; v.&lt;/span&gt;&lt;span data-sentence-id="43f1c2e2c4" quote="false" data-paragraph-id="5e1b6ce403"&gt; &lt;br /&gt; Abigail Pilmenstein, Respondent &lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="26d3ab45a9"&gt;No. 21SC425&lt;/p&gt;&lt;p data-paragraph-id="2fefc1cee8"&gt;&lt;span data-sentence-id="2fefc1cee8" quote="false" data-paragraph-id="2fefc1cee8"&gt;Supreme Court of Colorado, En Banc&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="33a6f13a73"&gt;October 18, 2021&lt;/p&gt;&lt;/center&gt;&lt;/header&gt;&lt;br /&gt;&lt;!--OPINION TEXT STARTS HERE--&gt;
 &lt;p id="AppealLine" data-paragraph-id="e7acc03cea"&gt;&lt;span data-sentence-id="a82c768174" quote="false" data-paragraph-id="e7acc03cea"&gt; Court of Appeals Case No. 19CA2051 &lt;/span&gt;&lt;/p&gt;
 &lt;p id="MajorityOpinion" data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="5206077a6e"&gt;&lt;span data-sentence-id="70dfb4add5" quote="false" data-paragraph-id="5206077a6e"&gt; Petition for Writ of Certiorari DENIED.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;1&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;/div&gt;
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